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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


JUSTIN COFFEY,

       Plaintiff,

v.                                                        Case No. 4:17-cv-40

SUN LIFE ASSURANCE COMPANY OF
CANADA,

       Defendant.


                                NOTICE OF REMOVAL

       Defendant Sun Life Assurance Company of Canada (“Sun Life”), pursuant to 28

U.S.C. §§ 1332, 1441, and 1446, hereby removes this case from the 151st Judicial

District Court, Harris County, Texas, (“State Court”) in which it is now pending, to the

United States District Court for the Southern District of Texas, Houston Division, and in

support thereof states as follows:

                                     BACKGROUND

       1.     Plaintiff Justin Coffey (“Plaintiff”) commenced this action on or about

November 22, 2016, by filing his Petition in the State Court.

       2.     The Citation and Petition were first served on Sun Life on December 22,

2016. Pursuant to Local Rule 81, attached hereto as Exhibit A is an Index of State Court

Matters, which contains true and correct copies of all process, pleadings, and orders as




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served upon Sun Life. Also attached hereto as Exhibit B is a List of Counsel including

each attorney’s bar number, address, telephone numbers, and parties represented.

                            DIVERSITY OF CITIZENSHIP

       3.     There is complete diversity of citizenship.

       4.     Plaintiff states that he is a citizen of Texas and that he resides in Harris

County, Texas. See Petition at ¶ 4.

       5.     Sun Life is, and was at the time this action was commenced, a corporation

organized under the laws of Canada, with a port of entry for its United States branch in

the State of Michigan, and its principal place of business located in Wellesley Hills,

Massachusetts.

       6.     Diversity exists between Plaintiff and Sun Life because Plaintiff is a citizen

of Texas and Sun Life is a citizen of another state. See 28 U.S.C. § 1332(a).

       7.     The Plaintiff’s Petition does not allege a specific amount of damages, but it

is facially apparent that the Plaintiffs’ claimed damages exceed the sum of $75,000,

exclusive of interest and costs. Specifically:

              a)     Plaintiff alleges that he is owed unpaid long-term disability benefits

       in the amount of $2,203 per month for the 23 month period running from

       December 2014, when Sun Life allegedly terminated benefits, through November

       2016, when Plaintiff filed his Petition in State Court. See Petition at ¶¶ 17 & 19.

       Such allegations alone seek damages in excess of $50,000.

              b)     In addition, Plaintiff asserts statutory claims for “treble damages” for

       Sun Life’s alleged violations of the Texas Insurance Code and the Texas Unfair

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      Trade Practices Act. See Petition at ¶ 101.        See Texas Ins. Code § 541.152(b);

      Texas Bus. & Com. Code § 17.50(b)(1).

             c)     In addition, Plaintiff asserts statutory claims for attorneys’ fees

     pursuant to the Texas Insurance Code, the Texas Unfair Trade Practices Act, and

     the Texas Civil Practice and Remedies Code. See Petition at ¶¶ 94, 101, & 103.

      See Texas Ins. Code § 541.152(a)(1); Texas Bus. & Com. Code § 17.50(c); Texas

      Civ. Prac. & Rem. Code §§ 37.009 and 38.001.

             d)     In addition, Plaintiff asserts “egregious tortuous conduct” by Sun

     Life which allegedly caused him to “suffer financial hardship, substantial

     emotional distress, mental anguish, and pain and suffering which exacerbated his

     depression and anxiety.” Petition at ¶¶ 76–77.

             e)     In   addition,    Plaintiff   also   asserts   a   claim   of   fraudulent

      misrepresentation against Sun Life. Petition at ¶ 82–83.

             f)     Based on his allegations of contract, tort, fraud, unfair claims

      practices, and his other claims, Plaintiff further asserts that Sun Life is liable for an

      unspecified amount of “consequential damages to his/her economic welfare from

      the wrongful denial and delay of benefits; the mental anguish and physical

      suffering resulting from this wrongful denial of benefits; and continued impact on

      Plaintiff; lost credit reputation; and other actual damages permitted by law.”

      Petition at ¶ 98; see also Petition at ¶ 105.

             g)     In addition, Plaintiff also seeks a recovery of unspecified

     “exemplary damages” and “punitive damages.” See Petition at ¶¶ 98 and 105.

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              h)     In addition, Plaintiff also seeks penalties of 18% statutory interest

       under § 542.060 of the Texas Insurance Code. See Petition at ¶ 89. Pursuant to

       that statute, which defines such interest as “damages,” and Circuit precedent, this

       sum, despite being expressed in terms of an interest rate, is not “interest” within

       the contemplation of 28 U.S.C. § 1332 and must be included in calculating the

       amount in controversy for jurisdictional purposes. See St. Paul Reinsurance Co. v.

       Greenberg, 134 F.3d 1250, 1254–55 (5th Cir. 1998).

       8.     In determining whether the jurisdictional amount required by 28 U.S.C.

§ 1332(a) is satisfied, this Court may properly consider Plaintiffs’ claims for treble

damages, statutory attorneys’ fees, statutory interest damages, emotional distress, mental

anguish, pain and suffering, unspecified additional consequential damages, and

unspecified exemplary and punitive damages. See, e.g., Coburn v. American General

Life & Accident Ins. Co., 2013 WL 2289937 (S.D. Tex. 2013); Lewis v. State Farm

Lloyds, 205 F. Supp. 2d 706 (S.D. Tex. 2002). Here, based on Plaintiffs’ allegations, it is

clear that if he were to prevail on all claims, the amount awarded, exclusive of interest

and costs, would exceed $75,000.

       9.     There is complete diversity and therefore this Court has jurisdiction over

this matter based on diversity of citizenship. See 28 U.S.C. §§ 1332 and 1441(b).

                                   MISCELLANEOUS

       10.    Pursuant to Rule 6(a) of the Federal Rules of Civil Procedure and 28 U.S.C.

§ 1446(b), this Notice of Removal is filed within thirty (30) days of Sun Life’s receipt of

service of the Citation and Petition, on December 22, 2016.

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       11.    The United States District Court for the Southern District of Texas,

Houston Division, is the federal judicial district and division encompassing the State

Court where Plaintiff originally filed this suit.

       12.    Accordingly, the present lawsuit may be removed from the State Court to

the United States District Court for the Southern District of Texas, Houston Division,

pursuant to 28 U.S.C. §§ 1332(a)(2) and 1441(a).

       13.    Pursuant to the provisions of 28 U.S.C. § 1446, a true and correct copy of

the Notice of Filing Notice of Removal to the State Court is attached hereto.

       14.    If any question arises as to the propriety of the removal of this action, Sun

Life respectfully requests the opportunity to present a brief and oral argument on support

of its position that this cause is removable.

       WHEREFORE, notice is hereby given that this action is removed from the State

Court to the United States District Court for the Southern District of Texas, Houston

Division.

                                                Respectfully submitted,

                                                 /s/ Bill E. Davidoff
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                                                CANADA


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                             CERTIFICATE OF SERVICE

        I hereby certify that on January 12, 2017, I electronically filed the foregoing with
the Clerk of Court using the CM/ECF system which will send notification of such filing
to all parties who have appeared and registered with CM/ECF.


                                            /s/ Bill E. Davidoff
                                           Bill E. Davidoff




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